              IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION

WILLIAM BARRIER ROBERTS,                         )
                                                 )
       Plaintiff,                                )
                                                 )   Case No. 18-83442-CRJ11
v.                                               )
                                                 )   AP No. 19-80017-CRJ
MELANIE HAMMER MURRAY, et al.,                   )
                                                 )
       Defendants.                               )


                                 MOTION TO WITHDRAW

       COMES NOW David R. Beasley (“Beasley”) and respectively moves this Court to allow

him to withdraw as counsel of record for Defendant-Counterclaim Plaintiffs Melanie Hammer

Murray and Bullet & Barrel, LLC (collectively, “Counterclaim Plaintiffs”). As grounds for this

Motion, Beasley states that he will be leaving the law firm of Maynard, Cooper & Gale, P.C., and

has notified Counterclaim Plaintiffs of same.        Beasley’s withdrawal will not prejudice

Counterclaim Plaintiffs, as they will continue to be represented in this matter by the law firm of

Maynard, Cooper & Gale, P.C.

       Dated: September 9, 2019

                                                            /s/ David R. Beasley
                                                            One of the Attorneys for
                                                            Counterclaim Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2019, the foregoing was electronically filed with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                            /s/ David R. Beasley
                                                            Of Counsel




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